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UNITED STATES DISTRICT COURT United States Courts
Southern District of Texas
SOUTHERN DISTRICT OF TEXAS FILED
HOUSTON DIVISION MAR 19 2020
id J. Bradley, Clerk of Court
Robert Alan Fratta, Petitioner x David J, Bradley
Vv. xX CIVIL ACTION No. 4:13-cv-03438
Lorie Davis, Respondent X

MOTION TO PROCEED IN FORMA PAUPERIS

Comes now the Petitioner, Robert Alan Fratta, and files this motion pro

“se.

I. Per a letter by Clerk Bradley in Docket 121, Fratta "must" file this motion.
Fratta was under the impression this motion was not at all necessary for FRCP
60 appeals and their FRAP 3 Notices, and especially since Fratta is already
authorized by this Court (See Dockets 4 & 5) and all other Courts, and his
status is unchanged. Therefore Fratta asserts "Prior Approval’ of proceeding
on appeal in forma pauperis without further authorization” per FRAP 24(a)(3).

Also in regards to Clerk Bradley's letter, Fratta’s in forma pauperis
status is technically for two appeals. Firstly for Fratta's FRCP 60 appeal
to rescind the 2/13/20 Order - which is under Docket 119 with one attachment
of a two page letter to his former attorneys. If rescinded as is should be
so Dockets 114 thru 116 are rightfully placed back on the records, then
secondarily also for that FRCP 60 appeal for relief from the judgment and an
acquittal.

Additionally, Fratta's in forma pauperis status will apply to any future

appeals that might be necessary for him to file pro se.

Submitted by:
 

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Gj
Robert Alan Fratta, Petitioner/Appellant
Polunsky Unit, #999189
3872 FM 350 South
Livingston, TX 77351

Signed: 3/14/20
Mailed/Filed: 3/16/20
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